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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                 )
UNITED STATE OF AMERICA,                         )
                                                 )
                     Plaintiff,                  )
                                                 )
              v.                                 )        Case No. 07-20007
                                                 )
TANAE STEPHENS,                                  )
                                                 )
                     Defendant.                  )
                                                 )



                         MEMORANDUM AND ORDER

       Tanae Stephens is currently serving a 78-month prison sentence. Her case is

before the court on two nearly-identical motions she filed, both entitled Motion for

Reduction of Sentence/Correct Criminal History Points (Docs. 107 & 110). For the

reasons discussed below, these motions are denied.



                                   BACKGROUND

       In 2007, Ms. Stephens pleaded guilty to conspiracy to distribute or possess

with the intent to distribute more than fifty grams of cocaine base. The Presentence

Investigation Report (PSR) filed with the court identified as relevant conduct 60.31

grams of cocaine base. Ms. Stephens’s base offense level was 30, and after

considering her acceptance of responsibility, the total offense level was 27.
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       To determine Ms. Stephens’s criminal history, the PSR assessed three points

for prior convictions for felony criminal damage to property, possession of a false

identification card and being a person under twenty-one in a bar, and assault. These

prior convictions placed Ms. Stephens in criminal history category II.

       Ms. Stephens did not object to the calculations of relevant conduct or criminal

history. On December 10, 2007, Ms. Stephens was sentenced to 78 months in prison

followed by three years of supervised release. She now argues that her criminal

history category points were calculated improperly.



                                    DISCUSSION

       Ms. Stephens requests that this court reduce her sentence and correct her

criminal history points based on Amendment 709 to the sentencing guidelines, which

took effect on November 1, 2007, before she was sentenced. The relevant provision

of Amendment 709 changed the wording of § 4A1.2(c) of the sentencing guidelines.

Section 4A1.2 provides definitions and instructions for calculating criminal history

points. It provides that all prior felony offenses are counted toward a defendant’s

criminal history category. U.S.S.G. § 4A1.2(c). Additionally,

       [s]entences for misdemeanor and petty offenses are counted, except as follows:
       (1) Sentences for the following prior offenses and offenses similar to them . . .
       are counted only if . . . the sentence was a term of probation of more than one
       year or a term of imprisonment of at least thirty days . . . .




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Id. (emphasis added). Amendment 709 inserted the bold language above and deleted

the previous wording that said “term of probation of at least one year.” U.S.S.G. app.

C Supp. Amend. 709 (emphasis added). Ms. Stephens argues that under § 4A1.2(c)

as amended, she should not have received criminal history points for the three prior

convictions included in the PSR.

I.      Waiver

        Ms. Stephens’s plea agreement included a waiver of appeal or collateral

attack. Specifically, Ms. Stephens

        waives any right to challenge her conviction and/or sentence or otherwise
        attempt to modify or change her sentence or the manner which the sentence
        was determined in any collateral attack, including, but not limited to, a motion
        brought under [28 U.S.C. § 2255], a motion brought under [18 U.S.C.
        § 3582(c)(2),] and a motion brought under Fed. Rule of Civ. Pro 60(b).

Ms. Stephens’s motion provides no reason why that waiver should not now be

enforced. See, e.g., United States v. Cockerham, 237 F.3d 1179, 1181-82 (10th Cir.

2001) (concluding that a waiver of the right to appeal and to collaterally attack a

judgment or sentence are valid and enforceable).

II.     Merits

        Even assuming this court were willing to allow Ms. Stephens’s motion to

reduce her sentence, she would not be successful. The plain language of

§ 4A1.2(c)(1) makes it clear that her current challenges to the calculation of her

criminal history points are meritless.



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       As noted, § 4A1.2(c) excludes from the calculation a specified list of offenses

depending on the precise sentence the defendant received. Ms. Stephens argues that

the three convictions for which she received criminal history points should not have

been counted. At issue are the following convictions: felony criminal damage to

property, for which Ms. Stephens received six months probation; possession of a false

identification card and being a person under twenty-one in a bar, for which Ms.

Stephens was fined $100 on each count; and assault, for which Ms. Stephens was

fined $50.

       The general rule of § 4A1.2(c) is that convictions for misdemeanor and petty

offenses are counted for purposes of calculating a defendant’s criminal history

category. Section 4A1.2(c)(1) provides an exception: the specific offenses listed in

§ 4A1.2(c)(1) and offenses similar to them are only counted if, as relevant here, the

sentence was a term of probation for more than one year. The offenses listed include:

careless or reckless driving, contempt of court, disorderly conduct or disturbing the

peace, driving without a license or with a revoked or suspended license, false

information to a police officer, gambling, hindering or failure to obey a police officer,

insufficient funds check, leaving the scene of an accident, non-support, prostitution,

resisting arrest, and trespassing. § 4A.12(c)(1).

       The three points for prior convictions Ms. Stephens is challenging do not come

from any one of these offenses. As such, they were properly counted toward her

criminal history category.

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IT IS THEREFORE ORDERED BY THE COURT that defendant’s motions for

reduction of sentence (Doc. 107 & 110) are denied.



      IT IS SO ORDERED this 26th day of November, 2008.



                                  s/ John W. Lungstrum
                                 John W. Lungstrum
                                 United States District Judge




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